                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT WINCHESTER

 UNITED STATES OF AMERICA                      )         MATTICE/CARTER
                                               )
         v.                                    )         CASE NO. 4:11-CR-13
                                               )
 SHANNON PENTECOST                             )


                              REPORT AND RECOMMENDATION

         Pursuant to 28 U.S.C. ' 636(b), I conducted a plea hearing in this case on January 18, 2012.

 At the hearing, defendant entered a plea of guilty to the lesser included offense in Count One of the

 Indictment, conspiracy to distribute a mixture and substance containing a detectable amount of

 cocaine base (crack), a Schedule II controlled substance, in violation of 21 USC '' 846 and

 841(b)(1)(C), in exchange for the undertakings made by the government in the written plea

 agreement. On the basis of the record made at the hearing, I find that the defendant is fully

 capable and competent to enter an informed plea; that the plea is made knowingly and with full

 understanding of each of the rights waived by defendant; that it is made voluntarily and free from

 any force, threats, or promises, apart from the promises in the plea agreement; that the defendant

 understands the nature of the charge and penalties provided by law; and that the plea has a

 sufficient basis in fact.

         I therefore recommend that defendant's plea of guilty to the lesser included offense in

 Count One of the Indictment be accepted, that the Court adjudicate defendant guilty of the charges

 set forth in the lesser included offense in Count One of the Indictment, and that the written plea

 agreement be accepted at the time of sentencing. I further recommend that defendant remain in

 custody until sentencing in this matter. Acceptance of the plea, adjudication of guilt, acceptance


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 of the plea agreement, and imposition of sentence are specifically reserved for the district judge.

        The defendant=s sentencing date is scheduled for Monday, April 16, 2012, at 2:00 pm.



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                                                UNITED STATES MAGISTRATE JUDGE




                                       NOTICE TO PARTIES

         You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or proceedings
 objected to, and must be filed and served no later than fourteen days after the plea hearing.
 Failure to file objections within fourteen days constitutes a waiver of any further right to challenge
 the plea of guilty in this matter. See 28 U.S.C. '636(b).




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